                    Case 15-22980-PGH           Doc 16   Filed 08/18/15   Page 1 of 3


                             IN THE UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION

IN RE:                                                           CASE No.     15-22980-JKO

JOSE ANGEL RODRIGUEZ AKA JOSE                                   Chapter 13
RODRIGUEZ AKA JOSE A RODRIGUEZ AKA
JOSE A RODRIQUEZ
GLADYS RODRIGUEZ AKA GLADYS GARCIA
RODRIGUEZ AKA GLADYS G RODRIGUEZ AKA
GLADYS RODRIQUEZ AKA GLADYS GARCIA
AKA GLADIS GARCIA

                                    DEBTOR(S).
         ______________________________________/

                                  OBJECTION TO CONFIRMATION OF
                                      CHAPTER 13 PLAN [DE # 2]


         Secured Creditor Urban Financial of America, LLC. (the “Secured Creditor”) objects to

confirmation of Debtor's Chapter 13 Plan [DE # 2] (the “Plan”) for the following reasons:

    1. Secured Creditor’s claim is secured only by a reverse first mortgage security interest

         encumbering real property located at 1481 SW 7TH Terrace, Deerfield Beach, FL 33441 that is

         the debtor’s principal residence and is protected from modification pursuant to 11 U.S.C. §

         1322(b)(2). Debtor claimed the collateral as exempt homestead property on Schedule C.

         Secured Creditor will file its Proof of Claim timely by November 19, 2015.

    2. The Plan understates pre-petition arrearage and amount of current payments. The pre-

         petition arrearage balance is $8,578.49 of which the Plan only provides to pay $7,278.00,

         resulting in a deficit of $1,300.49 or $108.37 per month over the required 36 month

         commitment period. The value of property to be distributed to the Secured Creditor under the

         Plan is less than the allowed amount of its claim in violation of 11 U.S.C. §§ 1322(b)(2) and



Our Case #: 14-003048-POC\15-22980-JKO\USDMGT
                    Case 15-22980-PGH           Doc 16   Filed 08/18/15     Page 2 of 3


        1325. A Plan which does not accomplish payment of pre-petition arrearages in full does not

        result in a discharge in bankruptcy of the unpaid pre-petition arrearages under the holding of In

        re: Carmen Bateman, Universal American Mortgage Company v. Bateman, 331 F.3d 821 (11th

        Cir. 2003):

                 We hold that although the parties are bound to the terms of the Plan, as
                 confirmed, Universal’s secured claim for arrearage survives the Plan and it
                 retains its rights under the mortgage until Universal’s claim is satisfied in
                 full. If that satisfaction is not forthcoming, after the automatic stay is
                 lifted, Universal will be entitled to act in accordance with the rights as
                 provided in the mortgage to satisfy its claim. Bateman, supra., at 834.

        Therefore it is in the Debtor’s interest as well as their obligation to pay the full amount of the

        arrearage through their chapter 13 plan, in order to avoid a foreclosure for these amounts at the

        conclusion of the plan.

    3. Debtor lacks disposable income to fund plan. Schedule J Line 20(c) states that Debtor's

        monthly net income is $169.17, which leaves no disposable income to pay the additional

        amounts needed to repay the $8,578.49 arrearage, or the Trustee’s fees and other items.

        Confirmation of the Chapter 13 Plan should be denied pursuant to 11 U.S.C. § 1325(a)(6)

        because Debtor will not be able to make all payments under the plan or to comply with the

        plan.

    4. Secured creditor is entitled to attorneys fees pursuant to 11 U.S.C. § 1322(e) which fees should

        be added to the balance due on the Note and Mortgage pursuant to the terms of those

        documents, but attorneys fees should not be a personal obligation of the Debtor.

         WHEREFORE Creditor requests that this Honorable Court enter an Order denying

Confirmation of Debtor’s Chapter 13 Plan and dismissing the Chapter 13 bankruptcy with prejudice,

together with fees as set forth in paragraph 4 above.



Our Case #: 14-003048-POC\15-22980-JKO\USDMGT
                    Case 15-22980-PGH           Doc 16     Filed 08/18/15   Page 3 of 3




                                         CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 18, 2015, I electronically filed the foregoing with the
Clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to all
CM/ECF participants listed below:
Robert Sanchez, Esq.
355 W 49th St
Hialeah, FL 33012
robertsanchezesq@hotmail.com

Robin R Weiner
POB 559007
Fort Lauderdale, FL 33355

and on August 19, 2015, a true and correct copy was mailed to the non-CM/ECF participants listed
below:
Jose Angel Rodriguez                                        Gladys Rodriguez
1481 SW 7th Terrace                                         1481 SW 7th Terrace
Deerfield Beach, FL 33441                                   Deerfield Beach, FL 33441




         I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in
this Court set forth in Local Rule 2090-1(A).
                                                         Gladstone Law Group, P.A.

                                                  BY: /s/ Shirley Palumbo
                                                      Attorney for Secured Creditor
                                                      1499 W. Palmetto Park Road, Suite 300
                                                      Boca Raton, FL 33486
                                                      Telephone #: 561-338-4101
                                                      Fax #: 561-338-4077
                                                      FBN 73520
                                                      ecf@gladstonelawgroup.com
                                                      spalumbo@gladstonelawgroup.com



Our Case #: 14-003048-POC\15-22980-JKO\USDMGT
